                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,

                               Plaintiff,
                                                    Criminal No. 17-CR-000064-01-W-DGK
         v.                                         Complaint No. 17-MJ-00027-JTM

ROBERT LORENZO HESTER, JR.,
a./k/a “Mohammed Junaid Al Amreeki,” a/k/a
“jun Muhammad,” a/k/a “Rabbani Junaid
Muhammad,” a/k/a “Rami Talib,” a/k/a “Ali
Talib Muhammad”
                           Defendant.

                            MOTION TO DISMISS COMPLAINT
         Comes now Brian Casey, Assistant United States Attorney, and moves the Court to dismiss
the complaint filed on February 19, 2017, before United States Magistrate Judge Maughmer, at
Kansas City, Missouri, charging the defendant, ROBERT J. HESTER, JR, did knowingly attempt
to provide material support or resources, including, among other things, property, service, training,
and personnel, to a foreign terrorist organization, to wit, the Islamic State of Iraq and the Levant,
knowing that the organization has been designated by the Secretary of State as a foreign terrorist
organization since 2004, and is currently designated as such, and that the organization has engaged
and engages in terrorist activity and terrorism, in violation of Title 18, United States Code, Section
2339B.
                                                      /s/ Brian P. Casey
                                                      Brian P. Casey
                                                      Assistant United States Attorney
                                                      Western District of Missouri

                                            ORDER

     Upon motion of the United States of America, the complaint against defendant, ROBERT
LORENZO HESTER, JR., filed on February 19, 2017, is hereby dismissed.

Dated:      September 28, 2017                        /s/ John T. Maughmer_________________
           Kansas City, Missouri                      HONORABLE JOHN T. MAUGHMER
                                                      United States Magistrate Judge



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